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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

VIRGINIA BROWN,

       Plaintiff,

v.                                                      Case No: 8:17-cv-723-T-35AEP

T.D. BANK, N.A.,

       Defendant.


                    ORDER OF DISMISSAL WITH PREJUDICE
       Upon consideration of the Parties’ Stipulation of Dismissal, (Dkt. 17) and pursuant

to Fed. R. Civ. P. 41, it is hereby

       ORDERED that this case is DISMISSED WITH PREJUDICE. Each party shall

bear its own attorneys’ fees and costs associated with this matter. The Clerk is directed

to terminate any pending motions and CLOSE this case.

       DONE and ORDERED in Tampa, Florida, this 22nd day of August, 2017.




Copies furnished to:
Counsel of Record
Any pro se party
